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                           UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS; et al.,

                                Plaintiffs,
                                                                         10814-WGY
                                                           No. 1:25-cv-_______________
        v.

 ROBERT F. KENNEDY, JR., et al.,

                                Defendants.


             SUPPLEMENTAL DECLARATION OF JEREMY M. BERG, PH.D.

I, Jeremy M. Berg, declare as follows:

       Background

       1.      I am a former director of the National Institute of General Medical Sciences

(NIGMS), one of the twenty-seven National Institutes of Health (NIH). I served as director of

NIGMS from 2003 to 2011. The purpose of NIGMS is to support research and training of

scientists across a wide range of areas, including biochemistry, cell biology, genetics,

computational biology, bioinformatics, anesthesiology, wound healing, and burn and trauma

research. The United States’ ability to effectively treat, diagnose, manage, and ultimately cure

diseases requires an understanding of their underlying mechanisms and biology. NIGMS’

investments in fundamental basic research have supported 90 Nobel prizes and improvements in

treatments for diseases including heart disease, cancer, neurological diseases associated with

aging, sepsis, and many others. I have continued to receive and manage funding from the NIH as

a researcher at a private research university in Pennsylvania.

       2.      As noted in my previous declarations, the NIH receives approximately 50,000

grant applications per year. NIGMS alone awards and manages more than 4,500 grants on
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average and reviewed, in the past, nearly 1,000 grant applications (in addition to those reviewed

by study sections at the NIH’s Center for Scientific Review) received in response to NOFOs. As

part of the NIH mission to advance biomedical research, all applications for completely new

grants or grants up for competitive renewal submitted to the NIH in support of biomedical and

behavioral research are evaluated for scientific and technical merit through the NIH peer review

system. As part of the scientific review process, even if potential grantees are asked to re-submit

applications, grantees receive feedback on how to align their applications with rigorous scientific

and technical merit demanded by NIH.

       3.      Today, Congress appropriates more than $47 billion to the NIH’s institutes and

centers to advance biomedical research, including through grants to extramural researchers and

institutions. A 80 percent of NIH’s annual funding to advance biomedical research powers the

thousands of principal researchers, research projects, and trainees in external organizations

across the United States. This allocation of funding to external projects has been consistent

across Presidential administrations and consistent with Congressional direction, dates to the

beginning of the modern biomedical research system in the United States. In 2023, these grants

supported 38,000 principal investigators and more than 300,000 researchers at more than 2,500

institutions across the country.

       4.      This means that at any given time, NIH is managing more than 59,000 grants in a

year. Generally, grants are funded for at least four years; but are not fully funded all at once. An

initial award in one fiscal year is followed by continuation (or non-competitive renewal) awards

in subsequent years pending submission of an acceptable scientific and financial progress report.

Thus, at any given point in time, about 80-85 percent of NIH’s external funding is committed to

existing research, support for the NIH intramural research program, or other costs such as NIH
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operations. The remaining 15-20 percent is available for new grant applications and the

competitive renewal of long-term research projects.

       5.      This multi-year stability is important to scientific investigation, particularly to

encourage researchers to pursue innovation and risk in biomedical research. Due to the nature of

funding scientifically significant but innovative and sometimes risky nature of biomedical

research, investigators have the flexibility to adjust their research efforts depending on ongoing

discoveries or other developments in the scientific field. But the NIH’s staff still review annual

progress reports to assess whether or not the researcher has continued to make progress on the

project appropriate for what was in their grant application.

       6.      I now update my previous analyses that reflect that the NIH remains dramatically

behind its typical pace of operations for this time of the fiscal year i.e. FY2025. Based on

previous agency practice, including my time at NIH, the agency during this fiscal year has not

been able to further the key functions such as the scientific and technical review of grant

applications, the funding of new grants from such applications, and continued funding of existing

grants that have made scientific progress as mandated by Congress.

       FY2025 Funding of New Grants and Continuing Grants

       7.      Using the NIH’s NIH Reporter database, I am continuing to compare NIH

funding of non-competitive and competitive grants in fiscal year 2025 compared to previous

fiscal years. 1 Not even accounting for the terminations by NIH which purportedly total over $2

billion, my updated analysis reflects that there is another $3.71 billion in grant funding that NIH



1
  The NIH appears to update the database on a one to two week lag. So for example, a grant
recipient that was expecting a non-competitive renewal on May 31 would typically receive a
renewal and the budget for another year around June 1 based on previous agency practice. That
new budget period would then be reflected in the update made by NIH to the NIH Reporter
system in the first week of June.
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has not allocated this year. If this rate of non-competitive renewals and new grant awards

continues, NIH will not allocate all of its appropriated funding by the end of fiscal year 2025.

       8.      In my most recent analysis (which includes grants with budget start dates through

June 1, 2025), I found that NIH had failed to make awards for $2.91 billion for non-competitive

awards that do require progress reports to NIH staff, but do not undergo review by study sections

or by the Advisory Councils of each NIH institute or center.2 As illustrated in this graph, the

pace of renewals or grant continuations has further slowed since the beginning of this litigation:




This clearly demonstrates that the percentage of non-competitive renewal awards made by the

budget end date of the earlier award has fallen to less that 50% in grants due in May through

June 1, 2025. Less than half of active grants receiving a renewal is extremely low even compared




2
  See 42 CFR 52.6(c)(2) (“Generally, the grant will initially be for one year and subsequent
continuation awards will also be for one year at a time. A grantee must submit an application at
the time and in the form and manner as the Secretary may prescribe to have support continued
for each subsequent year.”)
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with data only from Fiscal Year 2025 where this renewal percentage prior to January 2025 is 98

to 100%.

       9.      I also estimate that the amount of funds committed to competitive awards (new

and competitive renewal grants) is approximately $800 million lower than expected based on

fiscal year 2023 and fiscal year 2024 results over the same time period. By June 2024, NIH had

awarded 6,557 competitive awards and allocated $3.01 billion in competitive awards. In fiscal

year 2025, NIH has awarded only 4,567 competitive awards and allocated $2.26 billion in

competitive awards.

       10.     The rate of committing funds for new and competitive renewal grants from

January 20, 2025 through June 20, 2025 compared with the same dates in fiscal year 2024 is

illustrated below:




This reveals that the rate of award issuance in fiscal year 2025 tracked that for fiscal year 2024

for the first two weeks of the Trump administration and then slowed beginning the government-

wide “pause” in grant-making and has continued at a slow pace continuing to the present.
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       11.     There are now 102 days remaining in the current fiscal year. My previous analysis

compared historical rates of grant making over one-month periods from fiscal years 2015

through 2024 to the results through April 2025. To spend all or nearly all of its appropriated

funds, NIH needs to significantly accelerate its grant making pace. Today, to allocate all of its

appropriated funds, approximately $23.3 billion must be committed over the remaining 102 days

(from the time of this writing). Examination of all 102 day periods from fiscal year 2015 through

fiscal year 2024 reveals that the maximum amount (in inflation-corrected dollars) that has even

been allocated over 102 days is $20.48 billion. Thus, there is literally no precedent over the past

decade of NIH allocating the necessary amount of funding in the time remaining.

       NIH Agency Practice & Congressional Appropriations

       12.     In my experience, NIH institutes and centers almost always commit all or nearly

all of the funds appropriated by Congress. Every year, the President submits a budget to

Congress. 31 U.S.C. § 1105. The budget includes documentation on how the agencies obligate

via payable grants and other agreements; and documentation on how much agencies expended or

outlayed funds in the previous fiscal year. 31 U.S.C. § 1105(a)(7); see also 31 U.S.C. § 1501

(a)(5). As part of that process, the director of each NIH institute and center has responsibilities

tied to the NIH budget process. This includes submitting Congressional Justifications for each

institute and center’s budget as a part of the President’s budget proposal.3

       13.     For example, when I was NIGMS director, I would work with the NIGMS budget

officer to manage and report the disbursement of appropriated funds. Every year, the NIGMS




3
 These Congressional Justifications for each institute and center are available online. For
example, the NIGMS budget justifications dating from FY2025 and back to my tenure are
available at Nat’l Inst. Gen. Medical Sciences, “Congressional Justifications”
https://www.nigms.nih.gov/about/budget/CJs/Pages/default/ (accessed on June 26, 2025).
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budget officer would prepare an accounting of the funds disbursed by NIGMS in the previous

fiscal year. That accounting would then be incorporated into the budget justification submitted

by my office to the central budget office of the NIH. My understanding is that each institute and

center submits a similar budget justification to NIH as part of the President’s annual proposed

budget.

          14.   Ultimately, this accounting reflected that as NIGMS director, I worked with my

team to make sure that all funds were committed, down to the last dollar. As noted above and in

my previous declarations, the vast majority of funds are committed by each institute and center

over the course of the whole fiscal year. But during my time at NIGMS, I also recall specific

discussions about committing the last $100 out of a budget of ~$2 billion, or 0.00005%.

          15.   As director, I also recall working with other directors and NIH leadership to

identify funding opportunities and grant applications to commit every last dollar of NIGMS

funds. As part of an NIH-wide program that NIGMS administered for early stage investigators, I

would reach out of the other institute directors in the last month of the fiscal year to see if any

institute had funds remaining to fund one or more additional early stage investigators. While

some did contribute funds for one or two additional awards, most institute directors indicated

that they did not have any unallocated funds available to fund even a single $1-2 million award.

          16.   This can be seen in the NIGMS Congressional Justifications. For example,

towards the end of my tenure as director, NIGMS submitted a Congressional Justification for

FY2012 with table entitled “Amounts Available for Obligation” reflecting (1) funds actually

obligated in FY2010; (2) expected obligations in FY2011; and (3) a proposed budget and
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expected obligations for the President’s budget in FY2012. On page 4 of the Budget

Justification, there were not unobligated funds at the end of FY2010.4




       17.     NIGMS has continued to submit Congressional Justifications through the present

that reflect that NIGMS obligates all or nearly all of its appropriated funding by the end of the

fiscal year.5 For example, the NIGMS Congressional Justification for FY2015 shows again, an

unobligated balance of $0 at the end of the year for FY2014. This lack of unobligated funds

continues through the NIGMS Congressional Justification for FY2025.




       18.     While I have not examined all of the Congressional Justifications for all NIH

institutes and centers from 2015 to 2024, I did examine a sample of Congressional Justifications

each institute and center. The largest unobligated balance I located was approximately $10 M out


4
  NAT’L INST. GEN. MEDICAL SCIENCES, CONGRESSIONAL JUSTIFICATION FY2012, at *4
https://www.nigms.nih.gov/sites/nigms/files/migrated/cj2012.pdf
5
  NAT’L INST. GEN. MEDICAL SCIENCES, CONGRESSIONAL JUSTIFICATION FY2015, at *4
https://www.nigms.nih.gov/sites/nigms/files/migrated/cj2015.pdf
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of an appropriation of $2.34 B or 0.4% for the National Institute of Mental Health. This means

that absent a change in its current pace of grant-making, the NIH is currently set to leave more

appropriated funds unspent in the current fiscal year by several orders of magnitude more than it

has in the last decade.
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